Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 1 of 8 PageID #: 362




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES                      §
 INNOVATIONS, LLC,                                 §
                 Plaintiff,                        §       C.A. No. 2:15-cv-1877-JRG-RSP
 v.                                                §                LEAD CASE
                                                   §
 AMERICAN HONDA MOTOR CO., INC.,                   §
 et al.,                                           §
               Defendants.                         §

      DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                     PROPOSED PROTECTIVE ORDER

         Defendants respectfully file this Unopposed Motion for Extension of Time for All Parties

 to File a Proposed Protective Order.

         Pursuant to the Court’s Docket Control Order, the deadline for the parties to file their

 proposed Protective Order is March 14, 2016. Defendants respectfully request an extension

 until Thursday, March 17, 2016 to finalize negotiations amongst themselves and with the

 Plaintiff, and to file a proposed Protective Order.

         Plaintiff has indicated that it will not oppose Defendants’ motion for extension. This

 request is not made for purposes of delay, and will not affect any other case deadlines.

         WHEREFORE, Defendants pray that the Court enter an order extending the time to file a

 proposed protective order in this matter to March 17, 2016.




 EAST\122744272.1                                  1
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 2 of 8 PageID #: 363




 Dated: March 14, 2016                     Respectfully submitted,

                                           /s/ Mathew D. Satchwell
                                           Matthew D. Satchwell
                                           Illinois Bar No. 6290672
                                           DLA PIPER LLP
                                           203 N. LaSalle St., Suite 1900
                                           Chicago, IL 60601-1293
                                           312.368.2111 – Office
                                           312.326.7516 – Facsimile
                                           matthew.satchwell@dlapiper.com

                                           Dawn M. Jenkins
                                           State Bar No. 24074484
                                           DLA PIPER LLP
                                           1000 Louisiana, Suite 2800
                                           Houston, TX 77002
                                           713.425.8454 – Office
                                           713.300.6054 – Facsimile
                                           dawn.jenkins@dlapiper.com

                                           ATTORNEYS FOR DEFENDANTS
                                           VOLVO CARS OF NORTH AMERICA,
                                           LLC AND SUBARU OF AMERICA, INC.

                                           /s/ Michael K. Friedland
                                           Michael K. Friedland
                                           (Admitted Pro Hac Vice)
                                           Lauren Keller Katzenellenbogen
                                           (Admitted Pro Hac Vice)
                                           KNOBBE, MARTENS, OLSON & BEAR,
                                           LLP
                                           2040 Main Street, Fourteenth Floor
                                           Irvine, CA 92614
                                           Telephone: (949) 760-0404
                                           Facsimile: (949) 760-9502
                                           michael.friedland@knobbe.com
                                           lauren.katzenellenbogen@knobbe.com

                                           ATTORNEYS FOR SMARTLABS, INC.
                                           D/B/A INSTEON

                                           /s/ Thomas W. Winland
                                           Thomas W. Winland
                                           James R. Barney
                                           Jose Recio




 EAST\122744272.1                      2
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 3 of 8 PageID #: 364




                                           FINNEGAN, HENDERSON, FARABOW
                                             GARRETT & DUNNER, LLP
                                           901 New York Avenue, N.W.
                                           Washington, D.C. 20001-4413
                                           Telephone: (202) 408-4000
                                           Facsimile: (202) 408-4400
                                           tom.winland@finnegan.com
                                           james.barney@finnegan.com
                                           jose.recio@finnegan.com

                                           Thomas E. Ganucheau
                                           State Bar No. 00784104
                                           Leslie Honey Tronche
                                           State Bar No. 24078681
                                           BECK | REDDEN LLP
                                           1221 McKinney St. Suite 4500
                                           Houston, Texas 77010
                                           Telephone: 713.951.6219
                                           Facsimile: 713.951.3720
                                           tganucheau@beckredden.com
                                           ltronche@beckredden.com

                                           ATTORNEYS FOR DEFENDANTS
                                           TOYOTA MOTOR SALES U.S.A., INC.

                                           By: /s/ Jeffrey S. Patterson
                                           Jeffrey S. Patterson
                                           Texas Bar No. 15596700
                                           jpatterson@hdbdlaw.com
                                           Sean N. Hsu
                                           Texas Bar No. 24056952
                                           shsu@hdbdlaw.com
                                           HARTLINE DACUS BARGER DREYER
                                           LLP
                                           8750 North Central Expressway
                                           Suite 1600
                                           Dallas, Texas 75231
                                           Telephone: (214) 369-2100
                                           Facsimile: (214) 369-2118

                                           ATTORNEYS FOR DEFENDANTS
                                           HONDA OF AMERICA MFG., INC. and
                                           AMERICAN HONDA MOTOR CO.,
                                           INC.




 EAST\122744272.1                      3
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 4 of 8 PageID #: 365




                                           By: /s/ Frank C. Cimino, Jr.
                                           J. Thad Heartfield
                                           State Bar No. 09346800
                                           thad@heartfieldlawfirm.com
                                           THE HEARTFIELD LAW FIRM
                                           2195 Dowlen Road
                                           Beaumont, TX 77706
                                           Telephone: (409) 866-3318
                                           Facsimile: (409) 866-5789

                                           Frank C. Cimino, Jr.
                                           FCCimino@venable.com
                                           Megan S. Woodworth
                                           MSWoodworth@venable.com
                                           VENABLE LLP
                                           575 7th Street, NW
                                           Washington, D.C. 20004
                                           Telephone: (202) 344-4569
                                           Facsimile: (202) 344-8300

                                           COUNSEL FOR DEFENDANT FCA US
                                           LLC

                                           /s/ John R. Emerson
                                           John R. Emerson
                                           State Bar No. 24002053
                                           Matthew P. Chiarizio
                                           State Bar No. 24087294
                                           Bethany K. Hrischuk
                                           State Bar No. 24097851
                                           HAYNES AND BOONE, LLP
                                           2323 Victory Avenue, Suite 700
                                           Dallas, Texas 75219
                                           Telephone: 214-651-5000
                                           Telecopier: 214-651-5940
                                           E-mail: russ.emerson@haynesboone.com
                                           E-mail: matt.chiarizio@haynesboone.com
                                           E-mail: bethany.hrischuk@haynesboone.com

                                           ATTORNEYS FOR RHEEM
                                           MANUFACTURING COMPANY

                                           By: /s/ Alex V. Chachkes
                                           Alex V. Chachkes (NY Bar No. 3035078)
                                           achachkes@orrick.com
                                           ORRICK, HERRINGTON & SUTCLIFFE LLP




 EAST\122744272.1                      4
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 5 of 8 PageID #: 366




                                           51 W 52nd Street
                                           New York, New York 10019-6142
                                           Telephone: +1-212-506-5000
                                           Facsimile: +1-212-506-5151

                                           Mark S. Parris (Pro Hac Vice)
                                           mparris@orrick.com
                                           ORRICK, HERRINGTON & SUTCLIFFE LLP
                                           701 5th Avenue, Suite 5600
                                           Seattle, WA 98104-7097
                                           Telephone: +1-206-839-4300
                                           Facsimile: +1-206-839-4301

                                           Lillian J. Mao (CA Bar No. 267410)
                                           lmao@orrick.com
                                           ORRICK, HERRINGTON & SUTCLIFFE LLP
                                           1000 Marsh Road
                                           Menlo Park, CA 94025-1015
                                           Telephone: +1-650-614-7400
                                           Facsimile: +1-650-614-7401

                                           ATTORNEYS FOR DEFENDANT
                                           T-MOBILE USA, INC.

                                           By: /s/ Lionel M. Lavenue
                                           Lionel M. Lavenue
                                           FINNEGAN, HENDERSON, FARABOW,
                                           GARRETT & DUNNER, LLP
                                           Two Freedom Square
                                           11955 Freedom Dr.
                                           Reston, VA 20190
                                           (571) 203-2700
                                           lionel.lavenue@finnegan.com

                                           R. Benjamin Cassady
                                           FINNEGAN, HENDERSON, FARABOW,
                                           GARRETT & DUNNER, LLP
                                           901 New York Avenue, NW
                                           Washington, D.C.
                                           (202) 408-4000
                                           ben.cassady@finnegan.com

                                           ATTORNEYS FOR DEFENDANT BMW
                                           OF NORTH AMERICA, LLC




 EAST\122744272.1                      5
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 6 of 8 PageID #: 367




                                           By: /s/ Edward J. DeFranco
                                           Edward J. DeFranco
                                           QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
                                           51 Madison Avenue, 22nd Floor
                                           New York NY 10010
                                           Telephone: 212-849-7000
                                           Facsimile: 212-849-7100
                                           eddefranco@quinnemanuel.com

                                           Jeffrey S. Gerchick
                                           Brett N. Watkins
                                           QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
                                           777 6th Street NW, 11th Floor
                                           Washington, D.C. 20001-3706
                                           Telephone: 202.538.8000
                                           Facsimile: 202.538.8100
                                           jeffgerchick@quinnemanuel.com
                                           brettnwatkins@quinnemanuel.com

                                           ATTORNEYS FOR DEFENDANT
                                           MERCEDES-BENZ USA, LLC



                                           DUANE MORRIS LLP

                                           /s/ Matthew Yungwirth
                                           L. Norwood Jameson (Ga. Bar No. 003970)
                                           Matthew Yungwirth (Ga. Bar No. 783597)
                                           David Dotson (Ga. Bar No. 138040)
                                           S. Neil Anderson (Ga. Bar No. 757113)
                                           1075 Peachtree St. NE; Suite 2000
                                           Atlanta, GA 30309-3929
                                           Telephone: 404.253.6900

                                           Michael E. Jones (Texas Bar No. 10929400)
                                           POTTER MINTON PC
                                           110 N College, Suite 500
                                           Tyler, TX 75710-0359
                                           Telephone: 930-597-8311

                                           Counsel for Cellco Partnership d/b/a
                                           Verizon Wireless




 EAST\122744272.1                      6
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 7 of 8 PageID #: 368




                                           /s/ Allen Gardner
                                           Allen Gardner
                                           State Bar No. 24043679
                                           Gillam & Smith LLP
                                           110 N. College, Suite 800
                                           Tyler, Texas 75702
                                           Telephone: (903) 934-8450
                                           Facsimile: (903) 934-9257
                                           allen@gillamsmithlaw.com

                                           ATTORNEYS FOR DEFENDANT
                                           HYUNDAI MOTOR AMERICA


                                           /s/ Timothy S. Durst
                                           Timothy S. Durst
                                           Lead Attorney
                                           Texas Bar No. 00786924
                                           tim.durst@bakerbotts.com
                                           Douglas M. Kubehl
                                           Texas Bar No. 00796909
                                           doug.kubehl@bakerbotts.com
                                           Ross G. Culpepper
                                           Texas Bar No. 24069559
                                           ross.culpepper@bakerbotts.com
                                           Monica Hughes
                                           Texas Bar No. 24087768
                                           monica.hughes@bakerbotts.com
                                           Jerry D. Tice, II
                                           Texas Bar No. 24093263
                                           jerry.tice@bakerbotts.com
                                           BAKER BOTTS L.L.P.
                                           2001 Ross Avenue, Suite 600
                                           Dallas, Texas 75201-2980
                                           Telephone: 214-953-6500
                                           Facsimile: 214-953-6503

                                           ATTORNEYS FOR CONSOLIDATED
                                           DEFENDANT AND CONSOLIDATED
                                           COUNTER CLAIMANT
                                           AT&T MOBILITY LLC




 EAST\122744272.1                      7
Case 2:15-cv-01877-JRG-RSP Document 80 Filed 03/14/16 Page 8 of 8 PageID #: 369




                                CERTIFICATE OF SERVICE

         I certify that the foregoing document was filed electronically on March 14, 2016,
 pursuant to Local Rule CV-5(a) and has been served on all counsel who have consented to
 electronic service. Any other counsel of record will be served by first class U.S. mail on this
 same date.


                                                    /s/ Matthew D. Satchwell
                                                    Matthew D. Satchwell




 EAST\122744272.1                              8
